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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                     *
vs.                                               *    Case No.: 22-15-APM
THOMAS CALDWELL                                   *
       *       *       *      *       *       *        *      *        *       *     *


                                      NOTICE OF FILING
       The above-named Defendant, Thomas Caldwell, hereby notifies the Court of the attached
filing in this matter, correspondence regarding an update as to medical records and an
independent medical examination.




                                                                 /s/
                                                       David W. Fischer, Esq.
                                                       Federal Bar No. 023787
                                                       Law Offices of Fischer & Putzi, P.A.
                                                       Empire Towers, Suite 300
                                                       7310 Ritchie Highway
                                                       Glen Burnie, MD 21061
                                                       (410) 787-0826
                                                       Attorney for Defendant



                                  CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 26th day of February, 2024, a copy of the foregoing
Notice of Filing was electronically filed with the Clerk of the United States District Court using
CM/ECF, with a notice of said filing to the following:

Counsel for the Government:                   Office of the United States Attorney
                                              555 4th Street, NW
                                              Washington, DC 20001

                                                               /s/
                                                       David W. Fischer, Esq.
